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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                           :
PRESIDENT, INC., et al.,                      : No. 4:20-CV-02078
     Plaintiffs,                              :
                                              : (Judge Brann)
    v.                                        :
KATHY BOOCKVAR, et al.,                       :
    Defendants.                               :

    AMENDED MOTION FOR TEMPORARY RESTRAINING ORDER OR
                 PRELIMINARY INJUNCTION

      Pursuant to F.R.Civ. P. 65(a) (1), Plaintiffs hereby move, for the reasons and

on the grounds set forth in their supporting Brief, for a temporary restraining order,

or, in the alternative, a preliminary injunction barring Defendants from certifying

the results of the November 3, 2020General election until further order of Court.

      Secretary Boockvar has indicated that she does not concur in the Motion.

The Board of Elections of Centre County does not concur in the Motion. Plaintiffs

have not received answers from the remaining Defendants early enough to be able

to include them in the instant Motion, though Plaintiffs presume that those

Defendants do not concur.


                                       Respectfully submitted,

                                       /s/ Rudolph William Giuliani
                                       Rudolph William Giuliani
                                       NY Supreme Court ID No. 1080498


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                                  /s/Marc A. Scaringi
                                  Marc A. Scaringi
                                  marc@scaringilaw.com
                                  PA Supreme Court ID No. 88346

                                  Brian C. Caffrey
                                  brian@scaringilaw.com
                                  PA Supreme Court ID No. 42667
                                  Scaringi Law
                                  2000 Linglestown Road, Suite 106
                                  Harrisburg, PA 17110
Date: November 19, 2020           717-657-7770 (o)/ 717-657-7797 (f)




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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR               :
PRESIDENT, INC., et al,           : CIVIL ACTION
                                  :
     Plaintiffs                   : No. 4:20-cv-02078
                                  :
     v.                           : Judge Brann
                                  :
KATHY BOOCKVAR, et al,            :
                                  :
     Defendants                   :

                  TABLE OF CONTENTS OF EXHIBITS

EXHIBIT 1             Email of Allen T. Carter

EXHIBIT 2             PA Provisional Voting Guidance

EXHIBIT 3             Guidance Concerning Civilian Absentee and Mail-In
                      Ballot Procedures

EXHIBIT 4             Verified Complaint for Declaratory and Injunctive Relief

EXHIBIT 5             Meeting of Commissioners – Elections November 9,
                      2020

EXHIBIT 6             First Information Regarding Covid-19 Allegheny County
                      Election Day Updates

EXHIBIT 7             Donald J. Trump for President, Inc. v. Bucks County
                      Board of Electors

EXHIBIT 8             Donald J. Trump for President, Inc. v. Montgomery
                      County Board of Elections

EXHIBIT 9             Letter from Law Offices of Linda A. Kerns, LLC to all
                      counsel seeking Stipulation
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EXHIBIT 10           Plaintiff’s 1st Set of Interrogatories

EXHIBIT 11           Philadelphia City Commissioners Cancelled Ballot
                     Notification Information

EXHIBIT 12           Declaration of Marilyn Murray

EXHIBIT 13           Declaration of David Henry

EXHIBIT 14           Declaration of Lawrence Roberts

EXHIBIT 15           Declaration of Thomas Hetak

EXHIBIT 16           Declaration of Douglas Chew

EXHIBIT 17           Declaration of Christian Leinbach
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                   :
PRESIDENT, INC., et al,               : CIVIL ACTION
                                      :
      Plaintiffs                      : No. 4:20-cv-02078
                                      :
      v.                              : Judge Brann
                                      :
KATHY BOOCKVAR, et al,                :
                                      :
      Defendants                      :

                          CERTIFICATE OF SERVICE

      I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of Plaintiffs’ Amended Motion for Temporary

Restraining Order or Preliminary Injunction, in the above-captioned action, upon

all parties via CM/ECF.




Date: November 19, 2020               /s/ Deborah A. Black____________
                                      Deborah A. Black, Paralegal
                                      For Marc A. Scaringi, Esquire and
                                      Brian C. Caffrey, Esquire
